Case:22-12261-JGR Doc#:30 Filed:09/14/22              Entered:09/14/22 13:25:47 Page1 of 4




                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO

In re:                                      )
                                            )
EUGENIO E. PIZARRO, and                     )
LAURA L. PIZARRO,                           )       Case No.: 22-12261 JGR
                                            )       Chapter 13
Debtors.                                    )       Date filed: 6/24/22

  DEBTOR’S RESPONSE TO TRUSTEE’S OBJECTION TO DEBTOR’S CLAIMS OF
                           EXEMPTION

        COME NOW the Debtors through counsel and respond as follows to the trustee’s
objections to the debtors’ claims of exemption:

                                 FACTUAL BACKGROUND

         1.   Debtors filed a joint petition under chapter 13 on 6/24/22.

         2.   With the filing of their petition, debtors filed Schedules A/B & C which
              identified, disclosed, and exempted certain personal and real property owned by
              the debtors.

         3.   The trustee filed his objection to property claimed as exempt at docket no. 25.

         4.   The trustee has objected to the following property claimed as exempt by the
              debtors:

              A.     2012 Toyota Tundra;

              B.     2015 Honda SXS 500M2 UTV;

              C.     $4,000 of gold and silver coins; &

              D.     5 other motor vehicles.

         5.   Debtor husband works at a casino in Cripple Creek, CO. This is a full time
              position. On top of this, he works in 2 other businesses from which he has
              income: an information technology and surveillance business known as Onsite
              Fox and he works as a realtor. Most of the income and expense to Onsite Fox has
              come from the installation of security cameras.

         6.   The 2012 Toyota Tundra is used in the business known as Onsite Fox to transport
              cameras, hand tools, ladders, wiring, and other equipment to job sites. Debtors
Case:22-12261-JGR Doc#:30 Filed:09/14/22             Entered:09/14/22 13:25:47 Page2 of 4




            would note that it is the gross income from this business which compels the
            debtors to go 60 months with the plan in this case. If the costs of goods sold were
            considered and deducted, debtors’ gross income would be below the median.

      7.    The 2015 Honda is a utility vehicle which the husband uses in the real estate
            business. (Debtor husband provided a profit and loss for this business at the
            request of the trustee. That is attached as Exhibit A.)

      8.    Both items A & B above are exempted pursuant to CRS § 13-54-102(1)(I).

      9.    Item C above is exempted pursuant to CRS § 13-54-104(2)(a), because the gold
            coins are traceable to wages.

      10.   Debtors agree in general that debtors are limited to 4 other vehicles which they
            can exempt: 2 per person.

                          ISSUE FOR THE COURT’S REVIEW

      11.   What exemptions, if any, are inappropriate in this case.

                                       DISCUSSION

      12.   The trustee’s objection is not well taken. In the event of a dispute in relation to an
            exemption the objecting party, in this case the trustee, has the burden of proof. In
            re Larson, 260 B.R. 174, 186 [1-2] (Bankr.Colo. 2001).

      13.   The trustee argues first that there is not a sufficient connection between the
            businesses operated by the debtor husband and his claim of exemption in the two
            motor vehicles.

      14.   Debtor husband installs surveillance equipment. This includes installing exterior
            cameras at job sites. The pickup is the vehicle used to transport his equipment.
            Debtors would note that the reason why they have income above the median is the
            income from this business. This is by no means a hobby business and, without
            doubt, husband would not be able to conduct this business without the 2012
            Toyota Tundra. By way of explanation, cameras are normally placed high up on
            the structure of buildings. This involves installing them with ladders, wiring, and
            other exterior fixtures. The wiring is then connected to a computer system inside
            the business which records 24/7 the images which appear in the field of vision of
            the cameras. This business cannot be conducted without use of the pickup.
            Debtors have found at least 2 cases from this jurisdiction which support the
            debtors’ claims of exemption and both cases suggest that the debtors’ claims are
            well taken. See Judge Campbell’s decision in In re Black, 280 B.R. 258
            (Bankr.Colo. 2005) and Judge Brook’s decision in In re Sharp, 12-21611, docket
            no. 59 (Bankr.Colo. 2013).
Case:22-12261-JGR Doc#:30 Filed:09/14/22            Entered:09/14/22 13:25:47 Page3 of 4




      15.   In like fashion, debtor husband--as a realtor--sells raw land in Teller and Park
            Counties. The 2015 Honda UTV is used to find raw lands for sale and to show
            the raw land to the public. Not being able to show the land for sale to the public
            would be a significant drawback to this business.

      16.   The parties own gold and silver coins. Debtors have claimed an 80% exemption
            in these. Debtors would testify that they are traceable to wages. Wages do not
            lose their exemption simply because they are held in cash. Debtors would note in
            general that cash is not subject to creditors under CRS § 13-59-102 which
            provides as follows: “No execution shall issue against the body of any defendant
            in a civil action.” Accordingly, the coins are at least 80% exempt and are likely
            100% exempt as a holding in cash.

      17.   It is wise for the Court to adopt an interpretation of the statute which encourages
            the debtors to save or to segregate funds against the future needs of their family
            which in this age has become increasingly more unpredictable. The debtors
            would testify that the coins, in particular, were set aside to pay medical expenses
            for their son who was diagnosed with a rare form of cancer.

      18.   In general, it can be shown that the other items claimed as exempt have a sound
            basis and are directly related to the debtors’ businesses. The trustee cannot have it
            both ways: objecting to the business equipment on the one hand, but including the
            business income for purposes of the means test. Debtors would happily waive the
            exemptions if the trustee on his part dropped his objection to the plan insisting
            that the plan be for 60 months.

                                      CONCLUSION

      19.   With the above discussion in mind, the debtors request that the Court deny the
            trustee’s objection to the debtors’ claims of exemption; except that the debtors
            agree that they can only claim 4 other motor vehicles as exempt. This will be
            corrected with the next plan.

            Respectfully submitted this 14th day of September, 2022.

                                          LAW OFFICE OF STEPHEN H. SWIFT, P.C.

                                           /s/ Stephen H. Swift
                                          Stephen H. Swift, #14766
                                          Attorney for the Debtors
                                          733 East Costilla, Suites A and B
                                          Colorado Springs, CO 80903
                                          Tel. (719) 520-0164

                                     CERTIFICATE OF SERVICE
Case:22-12261-JGR Doc#:30 Filed:09/14/22               Entered:09/14/22 13:25:47 Page4 of 4




I certify that the following persons have been served a copy of this pleading this 14th day of September, 2022
as follows:

 VIA EMAIL TO: Debtor                                   VIA ECF TO: Douglas B. Kiel, Esq.
 EFILED: Clerk, US Bankruptcy Court                     VIA ECF: Office of the US Trustee

                                      _/s/ Stephen H. Swift________________
